      Case 1:20-cv-03248-JTR      ECF No. 19   filed 10/06/21   PageID.2467 Page     1 of 2
                                                                            FILED IN THE
                                                                              U.S. DISTRICT COURT
                                                                        EASTERN DISTRICT OF WASHINGTON



                                                                         Oct 06, 2021
                                                                             SEAN F. MCAVOY, CLERK
 1
 2
 3                         UNITED STATES DISTRICT COURT
 4                        EASTERN DISTRICT OF WASHINGTON

 5
     MARIA N.,                                     No. 1:20-CV-3248-JTR
 6
 7                        v.                       ORDER GRANTING STIPULATED
 8                                                 MOTION FOR REMAND
     KILOLO KIJAKAZI, ACTING                       PURSUANT TO SENTENCE FOUR
 9   COMMISSIONER OF SOCIAL                        OF 42 U.S.C. § 405(g)
     SECURITY,1
10
11                   Defendant.
12
13         BEFORE THE COURT is the parties’ stipulated motion to remand the
14   above-captioned matter to the Commissioner for additional administrative
15   proceedings pursuant to sentence four of 42 U.S.C. § 405(g). ECF No. 18.
16   Attorney D. James Tree represents Plaintiff; Special Assistant United States
17   Attorney L. Jamala Edwards represents Defendant. The parties have consented to
18   proceed before a magistrate judge. ECF No. 6. After considering the file and
19   proposed order, IT IS ORDERED:
20         1.       The parties’ Stipulated Motion for Remand, ECF No. 18, is
21   GRANTED. The above-captioned case is REVERSED and REMANDED to the
22   Commissioner of Social Security for further administrative action pursuant to
23   sentence four of 42 U.S.C. § 405(g).
24
25         1
               Kilolo Kijakazi became the Acting Commissioner of Social Security on
26   July 9, 2021. Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure,
27   Kilolo Kijakazi is substituted for Andrew M. Saul as the defendant in this suit. No
28   further action need be taken to continue this suit. See 42 U.S.C. § 405(g).

     ORDER GRANTING STIPULATED MOTION FOR REMAND - 1
      Case 1:20-cv-03248-JTR     ECF No. 19    filed 10/06/21   PageID.2468 Page 2 of 2




 1         On remand, the Appeals Council shall instruct the Administrative Law Judge
 2   (ALJ) to further develop the record and do the following: (1) reevaluate the
 3   medical evidence of record, including but not limited to, the non-examining
 4   opinion by Myrna Palasi, M.D., and the other medical source opinion by Corinna
 5   Michels, ARNP; (2) reevaluate Plaintiff’s subjective complaints; (3) reevaluate
 6   Plaintiff’s maximum physical and mental residual functional capacity as required
 7   by Social Security Ruling 96-9p; (4) proceed with the remaining steps of the
 8   sequential evaluation process; (5) as needed, obtain supplemental vocational expert
 9   evidence to determine whether Plaintiff could still do her past relevant work or
10   other work existing in significant numbers in the national economy; and (6) offer
11   Plaintiff the opportunity for a hearing, take any further action needed to complete
12   the administrative record, and issue a new decision.
13         2.     Judgment shall be entered for PLAINTIFF.
14         3.     Plaintiff’s Motion for Summary Judgment, ECF No. 15, is
15   STRICKEN AS MOOT.
16         4.     An application for attorney fees and costs may be filed by separate
17   motion.
18         IT IS SO ORDERED. The District Court Executive is directed to enter this
19   Order, forward copies to counsel, and CLOSE THE FILE.
20         DATED October 6, 2021.
21
22                               _____________________________________
                                           JOHN T. RODGERS
23                                UNITED STATES MAGISTRATE JUDGE
24
25
26
27
28

     ORDER GRANTING STIPULATED MOTION FOR REMAND - 2
